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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

NORMAN CHICOINE,

   Plaintiff,

-vs-                                               CASE NO.: 6:17-CV-00178

BLUESTEM BRANDS, INC. D/B/A
FINGERHUT,

   Defendant.
                                      /

                            NOTICE OF PENDING SETTLEMENT

       Plaintiff, NORMAN CHICOINE, by and through her undersigned counsel, hereby

notifies the Court that the parties, Plaintiff, NORMAN CHICOINE, and Defendants,

BLUESTEM BRANDS, INC. D/B/A FINGERHUT, have reached a settlement with regard to

this case, and are presently drafting, and finalizing the settlement agreement, and general release

documents.      Upon execution of the same, the parties will file the appropriate dismissal

documents with the Court.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document has been

furnished via E-filing on this 3rd day of August, 2017 to all parties of record.

                                              /s/Shaughn C. Hill, Esquire
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